                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF
                             ILLINOIS EASTERN DIVISION


 JOSE JUAN MAYSONET, JR              )                    Case No. 18-CV-02342
                                     )
                 Plaintiff,          )                    District Judge Mary M. Rowland
                                     )                    Magistrate Judge Maria Valdez
 v.                                  )
                                     )
 REYNALDO GUEVARA, ERNEST            )
 HALVORSEN, EDWARD MINGEY, LEE       )
 EPPLEN, FERNANDO MONTILLA,          )
 ROLAND PAULNITSKY, FRANK            )
 DIFRANCO, CITY OF CHICAGO, and COOK )
 COUNTY,                             )
                                     )
                  Defendants.        )

     DEFENDANT CITY OF CHICAGO’S MOTION FOR SUMMARY JUDGMENT

       Defendant, City of Chicago (the “City”), by and through its undersigned counsel, hereby

submit this Motion, contemporaneously with the City of Chicago’s Memorandum in Support of

and Local Rule 56.1(a)(3) Statement of Material Facts seeking judgment in its favor as to the

claims brought by Plaintiff, Jose Juan Maysonet, Jr.

       1.      This case arises out of Plaintiff’s alleged wrongful conviction for the 1990 murder

of Torrence and Kevin Wiley. Dkt. 136 at ¶1.

       2.        Plaintiff alleges that the City of Chicago is liable, pursuant to Monell v. New York

City Dep’t. of Soc. Servs., 436 U.S. 658 (1978), for the violation of Plaintiff’s constitutional rights

because Plaintiff’s injuries were directly and proximately caused by the policies, practices, and

customs of the City of Chicago, as well as by the actions of policy-making officials for the City of

Chicago. Id. at Count V; Dkt. 347.

       3.      For the reasons set forth in the City of Chicago’s Memorandum of Law, the City is

entitled to summary judgment on the entirety of Plaintiff’s Monell claim.
       WHEREFORE, Defendant, City of Chicago, respectfully requests that this Honorable

Court grant its Motion for Summary Judgment in its entirety, and for any and all other relief that

this Court deems just and proper.

Dated: July 15, 2024                                Respectfully Submitted,

                                                    /s/ Eileen E. Rosen
                                                    Eileen E. Rosen
                                                    Special Assistant Corporation Counsel
                                                    One of the Attorneys for City of Chicago

                                                    Eileen E. Rosen
                                                    Theresa B. Carney
                                                    Austin G. Rahe
                                                    ROCK FUSCO & CONNELLY, LLC
                                                    333 W. Wacker Dr., 19th Floor
                                                    Chicago, IL 60606
                                                    (312) 494-1000
                                                    erosen@rfclaw.com
